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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

TARGUS INTERNATIONAL, LLC,                   :
                                             :
                      Plaintiff,             :
                                             :
              v.                             :       Civil Action No. 20-464-RGA-CJB
                                             :
VICTORINOX SWISS ARMY, INC.,                 :
                                             :
                      Defendant.             :



                                            ORDER

       This 29 day of December 2020, upon consideration of the Magistrate Judge’s Report and

Recommendation dated December 10, 2020, and no objections to the Report and

Recommendation having been filed, and the Court having reviewed the matter and being

convinced that the Magistrate Judge’s Report and Recommendation is legally and factually

correct, IT IS HEREBY ORDERED:

       1. The Report and Recommendation (D.I. 70) is ADOPTED.

       2. Plaintiff’s motion to dismiss counterclaims and to strike third defense (D.I. 16) is

DENIED.


                                             /s/ Richard G. Andrews
                                             United States District Judge




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